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                              Exhibit 4
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From:                        Mike Brodarick <MBrodarick@lloydmc.com>
Sent:                        Monday, December 26, 2022 12:33 PM
To:                          Wimberg, April A.
Subject:                     Middleton & Reutlinger, P.S.C.


[WARNING: EXTERNAL SENDER]


April-
       I was retained by Middleton & Reutlinger, P.S.C. (“M&R”) over the weekend in
connection with your correspondence dated December 22, 2022. I am in the process of
gathering information and reviewing documents in order to be equipped to enter into a
meaningful dialogue with you and your client concerning the Lease (as defined in your
correspondence). I expect to be in a position to have a discussion with you later this week, but I
wanted to respond to your correspondence in a timely manner and to make you aware of our
firm’s involvement.
First, we dispute that the Lease is in default. Rent payments are current and payment for
January rent was hand delivered to your client last week. M&R has not yet dissolved and
intends to continue its business on the Premises for the near future. We are interested in
discussing with you and your client a cooperative plan which maximizes the chances for a
mutually beneficial transition of the Premises to a new tenant. M&R is paying its obligations as
they become due and is not in default of any financial obligations.
       M&R is operating with a reduced staff and its efforts are primarily aimed at billing
functions and the collection of receivables. Importantly, however, is the existence on the
Premises of client documents, wills, estate plans, litigation materials and other confidential
information. All of these documents and information belong to M&R’s clients and are protected
by the attorney/client privilege. It is critical that M&R have unfettered access to the client
documents and files in order to accomplish the orderly transition of these important legal
matters in accordance with the clients’ directives. An outside third party, or its law firm, cannot
take possession of these materials (or the confidential and privileged information housed on
M&R’s computers) without dire consequences. The files have no value to the Landlord and
there is no benefit gained by the Landlord in seizing possession of the files and privileged
materials.
       The operations of M&R are being managed by a committee of 4 attorneys (Andrew
Stosberg, Mark Fenzel, Dennis Murrell and David Kellerman) and the CFO, Steve Bringard.
Steve Bringard is a CPA and also holds a CMA certification, and the four attorney members of
the committee are all well respected in the community. There is no need or benefit to be gained
by appointing a “neutral” third-party.
       Be assured that M&R intends to work earnestly toward an orderly transition of the
Premises to a new tenant, and its efforts to maximize the collection of its receivables will be to
the benefit of both M&R and your client.
If you would like to discuss an orderly transition of the Premises, I am available Wednesday
before noon, Thursday after 12:00, and any time on Friday. I am working remotely (from
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Florida!) so the best number to reach me is on my cell, 502-836-7272. I look forward to
working with you toward a mutually beneficial resolution of this matter.


                               Mike Brodarick, Member, Board Certified Business Bankruptcy Specialist
                               Lloyd & McDaniel, PLC
                               700 N Hurstbourne Pkwy, Suite 200 | Louisville, KY 40222
                               Phone: 502.625.9265 | Toll Free: 866.585.1880 | Fax: 502.585-3054
                               Website: www.lloydmc.com


Pursuant to 15 USC 1692e, this communication is from a debt collector. This is an attempt to collect a debt. Any
information obtained in response will be used for that purpose.
To unsubscribe from future emails from Lloyd & McDaniel, PLC, please click here: optout@lloydmc.com
Telecommunications Relay Services are available by dialing 711 or (800) 648-6056. For additional information, please
visit https://www.fcc.gov/consumers/guides/711-telecommunications-relay-service

NOTICE: This message is intended only for the addressee and may contain information that is privileged, confidential
and/or attorney work product. If you are not the intended recipient, do not read, copy, retain or disseminate this
message or any attachment. If you have received this message in error, please call the sender immediately at 502-585-
1880 and delete all copies of the message and any attachment. Neither the transmission of this message or any
attachment, nor any error in transmission or delivery shall constitute waiver of any applicable legal privilege. Pursuant to
15 USC 1692e, this communication is from a debt collector. This is an attempt to collect a debt. Any information
obtained in response will be used for that purpose.
